              Case 3:18-cr-00278-WHA Document 22 Filed 08/17/18 Page 1 of 2




 1 ALEX G. TSE (CABN 152348)
   United States Attorney
 2
   BARBARA J. VALLIERE (DCBN 439353)
 3 Chief, Criminal Division

 4 SHEILA A.G. ARMBRUST (CABN 265998)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-6961
 7        FAX: (415) 436-7234
          sheila.armbrust@usdoj.gov
 8
   Attorneys for United States of America
 9
10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,      )                   No. CR 18-00278 WHA
                                    )
14         Plaintiff,               )
                                    )                   STIPULATION AND [PROPOSED]
15     v.                           )                   ORDER CONTINUING MATTER AND
                                    )                   EXCLUDING TIME UNDER THE
16   EMMANUEL GONZALEZ SANCHEZ, AND )                   SPEEDY TRIAL ACT
     LUIS RAMON ZAMORA ANGULO,      )
17                                  )                   Date: August 14, 2018, to September 18, 2018
                                    )                   Time: 2:00 p.m.
18         Defendants.              )
                                    )
19

20          The parties appeared before the Honorable William Alsup on August 14, 2018. Counsel for
21 Emmanuel Gonzalez Sanchez and the government requested a next status hearing before the Court for

22 September 18, 2018, in order to allow defense counsel to review discovery that already has been

23 produced and to receive and to review additional discovery. Counsel for Luis Ramon Zamora Angulo

24 and the government requested that the Court set a change of plea for September 18, 2018, and defense

25 counsel requested additional time to review discovery that has been produced with her client. The

26 parties all agreed that an exclusion of time would be appropriate for effective preparation of counsel.

27          The parties now stipulate to an exclusion of time from August 14, 2018, to September 18, 2018
28 for effective preparation of counsel pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The parties further

     STIP. AND PROP. ORDER TO EXCLUDE TIME UNDER S.T.A
     CR 18-00278 WHA                       1
              Case 3:18-cr-00278-WHA Document 22 Filed 08/17/18 Page 2 of 2




 1 stipulate, and ask the Court to find, that the requested continuance and exclusion of time are in the

 2 interests of justice and outweigh the best interest of the public and the defendant in a speedy trial. 18

 3 U.S.C. § 3161(h)(7)(A).

 4

 5 SO STIPULATED.

 6 DATED: August 17, 2018                                 ALEX G. TSE
                                                          United States Attorney
 7
                                                                         /s/
 8
                                                          SHEILA A.G. ARMBRUST
 9                                                        Assistant United States Attorney

10

11 DATED: August 17, 2018                                          /s/ with permission
                                                          ED SWANSON
12                                                        AUDREY BARRON
                                                          Counsel for Emmanuel Gonzalez Sanchez
13

14

15
     DATED: August 17, 2018                                        /s/ with permission
16                                                        JESSICA WALSH
                                                          Counsel for Luis Ramon Zamora Angulo
17

18                                           [PROPOSED] ORDER

19          For the reasons stated, this matter is continued to September 18, 2018. The time between August

20 14, 2018, to and 18, 2018, is excluded from the running of the speedy trial clock for effective

21 preparation of counsel under 18 U.S.C. § 3161(h)(7)(B)(iv). Failure to grant the continuance would

22 deny the defendant’s counsel the reasonable time necessary to prepare, taking into account the exercise

23 of due diligence.

24

25 IT IS SO ORDERED.

26 DATED: ______________________
                                                          WILLIAM ALSUP
27                                                        United States District Judge
28

     STIP. AND PROP. ORDER TO EXCLUDE TIME UNDER S.T.A
     CR 18-00278 WHA                       2
